    Case 1:21-cv-00729-WMR Document 1-1 Filed 02/19/21 Page 1 of 25
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                                                                                     GWINNETT COUNTY, GEORGII
                                                                                              21-C-00450€i
                                                                                          1120120212:33   PIV


                     IN THE STATE COURT GWINNETT COUNTY
                               STATE OF GEORGIA                             Jr^*!*""MlM
TIERRE FORD and AKILAH FORD,                 )
                                             )
       Plaintiffs,                           )
                                             )
V                                            )         CIVIL ACTION FILE
                                             )         NO. 21-C-00450€2
PROGRESSIVE MOUNTAIN                         )
INSURANCE COMPANY,                           )
                                             )
       Defendant.                            )         IURY TRIAL DEMANDED


                                     COMPLAINT


       Plaintiffs bring this Complaint to recover damages   as   follows:

                       PARTIES, IURISDICTION AND VENUE

                                            1..


       Plaintiff Tierre Ford and his wife Plaintiff Akilah Ford (collectively                as

"Plaintiffs") reside in McDonougtu Georgia. By filing this lawsuit, Plaintiffs submit to

the jurisdiction of this Court and to venue in Gwinnett County.


                                            ?

       Defendant Progressive Mountain Insurance Company ("Progressive Insurance")

is a   foreign insurance company that transacts business            in   Georgia f.or profit.

Progressive Insurance can be served through its registered agent, CT Corporation

System, at289 S. Culver Street, Lawrenceville, Gwinnett County, Georgia 30046.

                                            3.

       Progressive Insurance is subject to direct action pursuant to O.C.G.A.    S   40-2-140.
    Case 1:21-cv-00729-WMR Document 1-1 Filed 02/19/21 Page 2 of 25




                                              4

      Progressive Insurance is subject to direct action pursuant to O.C.G.A. S 40-7:112.

                                              5

      This Court has personal jurisdiction over Progressive Insurance

                                              6

      This Court has jurisdiction over the subject matter of this lawsuit.

                                              7.


      Venue is proper in Gwinnett County.

                                          FACTS

                                              8.

      Plaintiffs reassert the preceding paragraphs as if fully restated here.

                                              9

      This case arises out of a rear-end crash that occrirred on March l'1, 2020 while

Plaintiff Tierre Ford and Victavious Davis ("Davis") were driving separate tractor-

trailers in the same direction onl-675.

                                              10.
                                          ,
      When traffic ahead slowed, Davis drove his tractor-trailer into the back of the

vehicle that Plaintiff Tierre Ford was driving ('the Crash").

                                              11..


       Davis lost control of his tractor-trailer during the Crash and thery as shown in

the photograph below, Davis flipped his tractor-trailer on its side and knocked down

several trees while sliding to an uncontrolled stopln the woods near the roadway:




                                              -2-
    Case 1:21-cv-00729-WMR Document 1-1 Filed 02/19/21 Page 3 of 25




                                           12.

.     a.Davis Trucking, LLC ("Davis Trucking") owned the tractor-trailer that Davis
was driving at the time of the   Crash.           i




                                          13.

      Davis Trucking had commercial auto insurance coverage through Progressive

Insurance under Policy No. 00359154-1.("the Insurance Policy").
                                           't4.

      The Insurance Policy was in effect at the time of the Crash.

                                           15.

       Davis Trucking was insured under the Insurance Policy at the time of the Crash.




                                          -3-
    Case 1:21-cv-00729-WMR Document 1-1 Filed 02/19/21 Page 4 of 25




                                            1,6.


       Davis was insured under the Insurance Policy at the time of the Crash.

                                            17.

       The Crash is a covered event under the Insurance Policy.

                              RESPONDEAT SUPERIOR

                                            18.

      Plaintiffs reassert the preceding paragraphs as if fully restated here.

                                            19.

       Davis was an employee of Davis Trucking at the time of the Crash.

                                            20.

       Davis was acting within the course and scope of his employment with Davis

Trucking at the time of the Crash.

                                            21,.


       Davis was an agent of Davis Trucking at the time'of the Crash.

                                            22.

       Davis was acting within the course and scope of an agency relationship with

Davis Trucking at the time of the Crash.

                                            23.

       Davis Trucking is vicariously liable to Plaintiffs for Davis' negligent acts and

omissions in causing the Crash.

                           DIRECT ACTION COUNT ONE

                                           24.

      Plaintiffs reassert the preceding paragraphs as if futly restated here.



                                           -4-
    Case 1:21-cv-00729-WMR Document 1-1 Filed 02/19/21 Page 5 of 25




                                               25.

      Davis owed a duty to Plaintiff Tierre Ford to exercise reasonable care while

Davis was operating a motor vehicle.

                                               26.

      Davis was negligent and failed to exercise reasonable care in at least one of the

following ways:

      a.     following too closely behind Plaintiff Tierre Ford;

      b.     failing to operate a motor vehicle with ordinary diligence; and/ or

      c.     failing to maintain   a   proper lookout while   driving.                     e


                                              27.        /         \

      Davis' negligence proximately caused 'Plaintiff Tierre Ford to incur special
damages.

                                              28.

      Davis' negligence proximately caused Plaintiff Tierre Ford to suffer general

damages.

                                              29.

      Davis' negligence proximately caused Plaintiff Akilah For.d to suffer            a

compensable loss of consortium.

                                              30.

      Progressive Insrirance is liable to Plaintiff Tierre Ford for, and responsible for

payment of, his special damages that were lroximately caused by Davis' negligent acts

and omissions.




                                              -5-
    Case 1:21-cv-00729-WMR Document 1-1 Filed 02/19/21 Page 6 of 25




                                           31.

      Progressive Insurance is liable to Plaintiff Tierre Ford for, and responsible for

payment of, his general damages that were proximately'caused by Davis'negligent acts

and omissions.

                                           32.

      Progressive Iruurance is iiable to Plaintiff Akilah Ford for, and responsible for

payment of, her loss of consortium that was proximately caused by Davis Trucking's

negligent acts and omissions.

                           DIRECT ACTION COUNT TWO

                                           33.

      Plaintiffs reassert the preceding paragraphs as if fully restated here.

                                           34.

       Davis owed a duty to Plaintiff Tierre Ford to operate a motor vehicle in

accordance with the Uniform Rules of the Road gs codified in O.C.G.A.     S   40-6-L et seq.

                                           35.

       Davis was negligent per se in that he followed Plaintiff's vehicle more closely

than was reasonable and prudent without due regard for the speed of their vehicles and

the traffic upon and condition of the highway, which was in violafion of O.C.G.A.              S


a0-6-ae@).

                                            36.

       Davis' negligence per se proximately caused Plaintiff Tierre Ford to incur special

damages.




                                           -6-
    Case 1:21-cv-00729-WMR Document 1-1 Filed 02/19/21 Page 7 of 25




                                           37

       Davis' negligence per se proximately caused'Plaintiff Tierre Ford to suffer general

damages.

                                           38.

       Davis' negligence per se proximately caused Plaintiff Akilah Ford to suffer a

compensable loss of consortium.

                                           39.

       Progressive Insurance is liable to Plaintiff Tierre Ford for, and responsible for

payment of, hi,s'special damages that were proximately caused           by Davis' ?er se
negligent acts and omissions

                                           40.

      Progressive Insurance is liable to Plaintiff Tierre Ford for, and responsible for

payment of, his general damages that were proximately caused by Davis' per              se


negligent acts and omissions.

                                           41,.


      Progressive Insurance is liable to Plaintiff Akilah Ford for, and responsible for

payment of, her ioss of consortium that was proximately caused by Davis' per           se


negligent acts and omissions

                                      DAMAGEE

                                           42.

      Plaintiffs reassert the preceding paragraphs as if fully restated here




                                           -7-
    Case 1:21-cv-00729-WMR Document 1-1 Filed 02/19/21 Page 8 of 25




                                               43.

       Pursuant to O.C.G.A. S 9-11-9(9), Plaintiff Tierre Ford states that he has incurred

special damages in the form of past medical bills in excess of $500,000.00 as a direct and

proximate result of the Crash.

                                             M.

       Pla.intiff Tierre Ford has endured, and       will   continue   to endure, pain   and

suffering, mental anguish, emotional distress, loss of the capacity for the enioyment of

life, diminished capacity to labor, and other general damages, the amounts of which are

for the jury to determine.

                                             45.

       Plaintiff Akilah Ford has been, and will continue to be, deprived of the society,

companionship, love, affection, sexual relations, aid, household labor, cooperatiorl

comfort, and other matters of value arising from marriage to Plaintiff Tierre Ford as a

direct and'proximate result of the Crash.

                                  PRAYER FOR RELIEF

       WHEREFORE, Plaintiffs pray for the following relief:

       a)     that Summons issue and service be perfected upon Progressive Insurance

              requiring it to appear and alxiwer this Complaing

       b)     that Plaintiffs have a trial by a twelve-person jury;

       c)     that a judgment be entered in Plaintiffs' f.avor;

       d)     that Plaintiff Tierre Ford recover. his past and future special damages in

              amounts to be proven at trial;




                                            -8-
    Case 1:21-cv-00729-WMR Document 1-1 Filed 02/19/21 Page 9 of 25




      e)     that Plaintiff Tierre Ford recover for his past and future general damages

             in amounts to be decided at trial by the enlightened conscience of a fair

             and impartial ju.ry;

      g,     that Plaintiff Akilah Ford recover foi her past and future loss of
             consortium     in amounts to be decided at trial by the enlightened
      ,            .
             conscience of a fair and impartial jury;

      g)     that all costs of this action are taxed against Progressive Insurance; and

      h)     for such further relief   as the   Court deems fair and ?ppropriate.

      This the 20ft day of January,2021..

                                                      ILARDI LAW LLC


                                                      /s/ Frank A. Ilardi
                                                      Frank A. Ilardi
                                                      Georgia Bar No. 382028
                                                      Counsel for Plaintiffs

1201 Peachtree Street, NE   - Suite 2000
Atlanta Georgia 30361
Phone / Fax (470) M3-9060
Email: frank@ilawgeorgia.com




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                                                                                                                    21-G-00450-S2
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                                 IN THE STATE COURT OF GWII\INETT COUNTY                         }             II     ,   J   ,
                                                  srATE OF         GEORGTA                    ***a*           cfEnx
                                                                                                                      ffi',kmunr-

              TIERRE FORD and AKILAH FORD,

                             Plaintffi,

                        v
                                                                        Civil Action No. 2l-C-00450-S2
              PROGRESSIVE MOUNTAIN INSURANCE
              COMPANY,

                             Defendant


                                     AFFIDAVIT OF SERVICE UPON
                              PROGRESSIVE MOUNTAIN INSTJRANCE COMPANY



                    Personally, appeared before the undersigned officer duly authorized by law to administer

            oaths, Christian Seklecki, who, after being duly sworn, deposes and states the following:

                                                              l.
                    Affiant states that he is over l8 years of age, a citizen of the United States, and not

            related to the parties herein. The statements are true and correct and based upon my personal

            knowledge. I am appointed to serve in the State Court of Gwinnett County.

                                                              2.

                   On January 26,2021, at 1l:15 a.m.,     I served PROGRESSIVE MOUNTAIN

            INSURANCE COMPANY by leaving a copy of a SUMMONS, COMPLAINT, and PLAINTIFF

            TIERRE FORD'S FIRST INTERROGATORIES, REQUEST FOR PRODUCTION OF

            DOCUMENTS AND REQUEST FOR ADMISSIONS TO DEFENDA}IT PROGRESSIVE

            MOUNTAIN INSURANCE COMPANY, in the above-styled action, with LINDA BANKS, who

            is expressly authorized to accept service on behalf of CT CORPORATION, the Registered Agent

                                                                                                      Page    I of2


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                 Case 1:21-cv-00729-WMR Document 1-1 Filed 02/19/21 Page 11 of 25




             of PROCRII$SIYE MSIJ]{TAIN IhISURA.NCI: COMPANY.                     ser"v'ed et   ?89 S. Culver $treet"

             Lawrenceville,    fiA   30*46"




                    LINil*\ IIANKS         is a Cswasian female, appraxim*tely $S-years*ld, 5'4" and 155 lbs.

             with gray hair.

                                                                4.

                    LINIA      SANKS had me r*gi*ter the above-styled     cn^se   i:rt* a lbrm on a clipbaard,

             id*nti$"ing th* party to he serled and nating the time. I then handed h*r the pap*r$! anrl I left.




                                                                     Afiiant * Christisn $eklecki
                                                                     4S4-7?1-3204


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                      IN THE STATM COUII.T OF GWINNETT                 couNrY    I      i? r..l ^
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                                                                                                                     :




                                       STATE OF GT{$RGIA
                                                                                &*,U*
TIERRE FOR]} arxl AKILAH FORD,                  )
                                                )
       l'laintiffs,                             )
                                                )         CIVII, AC'TION
v                                               )
                                                )         r-'rLE NO. 2l -C-00450-S2
           MOT'NTAIN
PROGR}1S SIVH                                   )
INSURANCE COIdPANY,                             )
                                                )
       Delbndant.                               )
                                                )

                                    paFsNsEs dNI) Al)is:!*r{B

       COMHS NOW, Defbndant PROfiRESSIVE MOI"INTAIN II\IiIIRANCE COMPANY,

appearing specially and withoul submitting ta ths jurisdictii:n and venue of this Court. a:rd files

this its Defbnses and Answer to PlaintifTs' Complaint fcrr l)amages, and shows the Court           as


f0ll$ws:

                                          4"I$,ST,I}EF'ENSS

       The Flaintiffis' Complaint fails to $tate a claim against lJefbnclant upon which relief can be

granted.

                                         saqgl_{"p p-uHpNsE

       Jurisdictian is improper as to Defendant.

                                          THTRI} DSFENSA

       Venue is improper as to Defbndant.

                                         HQURTTTJIETENSE

           PlaintitTs' Complaint constilutes an improper direct action against Defendant.




                                                    -l-
   Case 1:21-cv-00729-WMR Document 1-1 Filed 02/19/21 Page 13 of 25




                                       TIFTII ptp{SITfiE

                                              ,ANqWAR

       I)efendant respnnds to the allegati*ns of Plaintiffs' Complaint as follows:

                                                   1.


       IJefundant is without, knawledge and information sufficient to form a belief as to the truth

of the aveiments ccntained in paragraph   i   of Plaintitlb' Complaint"

                                                   2.

       Det"effilant admits the averm*nts contnined in paragraph 2 of Plaintiff's' Complaint.

                                                   3.

       Defenclant is without knowledge and information sufficient to form a belief as to the truth

of the avelments contained in paragr*ph 3 of Plaintiffs' Complaint.

                                                   4"


       De{b.ndant is without knowledg* and infomiation sufficient to form a belief as to the truth

af the averments ccntained in paragraph 4 of Plaintifl.s' Complaint.

                                                   5.


       Defendant is without knowledge and information suJficient to form a bsl.ief as to the truth

of the averments containecl in paragraph 5 of Plaintiffs' Complaint.

                                                   6.

       I)eferidant is without knowledge and infirrmation sufti*ient to form a belief as to the truth

of the averments contained in paragraph 6 of Plaintiffs' Cornplaint.

                                                   7.


       Dsfendant is without knowledge and information sufficient to form a belief as to the truth

of the averments cantained in paragraph   l *llPlaintillts'   Camplaint.




                                                  -3-
   Case 1:21-cv-00729-WMR Document 1-1 Filed 02/19/21 Page 14 of 25




                                                    8.


        Defendant incorporates       by rctbrence its response.s to paragraphs l-7 of Plaintiffs'

Carnplaint as ifl &rlly set ftrrth herein bel{,w.

                                                    L


        Def'endant is without kncwledge and information suflicient ta farm a belief as to the truth

of the avsilnents contained in paragraph 9 of Plaintiffs' Complaint.

                                                    10.


        Defendant is without knowledge and infbrmation sufticient to fcrrm a belief as to the truth

of the averments ccntained in paragraph 10 of Plaintiffs' Complaint.

                                                    11.


        Defendant is without knowledge and information sufficient ta form a belief as to the truth

of the aver'ments contained in paragraph 11 of PlaintifTs' Compiaint.

                                                    12.

        I)etbndant is without knowledge and information sufficient to form a belief as to the truth

of the avennents contained in paragraph 12 of Plaintiffs' Ccimplaint.

                                                    13.


        Delendant admits the averments contained in paragraph 13 cl'Plaintiffs' Complaint.

                                                    14.

        Defendant admits the avennents contained in paragraph 14 of Plaintiffs' Complaint.

                                                    15.


        Def'endant acimits the avernents contained in paragraph 15 cf   Plaintiffs' Complaint.

                                                    16.

        Defendant admits t}re averments contained in paragraph 16 of Plaintjllls' Ccmplainl.




                                                    *3-
   Case 1:21-cv-00729-WMR Document 1-1 Filed 02/19/21 Page 15 of 25




                                                   1,7.


       Defendant is withaut knowledge and informatian sufficient to form a helief as to the truth

o.f'the avermsfits contained in paragraph l T of Plaintiffs' Complaint.

                                                   18.


       I)efbndant ineorporates    by   referense   its rssponses to paragraphs i-17 of Plaintiffs'

Complaint as if f*lly set tbrth hereitt below.

                                                   19.


        Defendant is without knowledge anil information sufHcient tn form a beLief as to the truth

cf the averments c*ntained in paragraph l9 of Plaintiffs' Camplaint'

                                                   ?0.

        Defendant is without knawledge and infiormation sufficient to farm a belief as to the truth

of the avennents contained in paragraph 20 of Plainlitfs' Complaint.

                                                   21.

        Defendant is without knowledg* and information sufticient to tbrm a belief as to the truth

of the averments contained in paragraph 21 of Plaintiffs' Complaint.
                                                   i4
                                                   ,t   z.

        Defendant is withaut knowledge and information sul.licient tt: fotm a helief as to the truth

of the averments contained in paragraph 22 of l'laintiffs' Complaint.

                                                   23.

        Defendant is withaut knowlsdge and infbrmation sufficient to form a belief as to the truth

of the averments contained in paragraph 23 of Plaintiffs' C<lmplaint.




                                                   -4-
   Case 1:21-cv-00729-WMR Document 1-1 Filed 02/19/21 Page 16 of 25




                                                24.

       Def'endant incorporates    by refbrence its    responses   to   paragraphs 1-23   of   Plaintiffs'

Complaint as if fully set forth herein below.

                                                25.

       tlefendant is withcut knawledge and information sufficient to form a belief as to the truth

of the averments ccntained in paragraph 25 of Flaintiff's' Complaint.

                                                25.

       Defendant is without knowledge and infbrmation sufficient to form a belief as to thc truth

of the averments contained in paragrnph ?6 of Plaintiffs' Complaint.

                                                27.

       Defundanl is without knowledge and informatiol sufficient to :l'onn a belief as to the truth

of the averments contained in paragraph ?7 of Plaintiffs' Complaint.

                                                28.

       Defendant is without knowledge and infarmation sufficient to form a belief as to the truth

of th.e averments contained in paragr*rph ?8 of Plaintiffs' Camplaint.

                                                29,

       Defendant is without knowledge and infbrmation suffir:ient to form a belief as to the truth

of the averments contained in paragraph 29 of Plaintiffs' Complaint.

                                                30.

       Defendant denies the averments c*ntained in paragraph 30 of Plaintiffs' Complaint.

                                                31.

       Defendant denies the averments contained in paragraph 31 of Ptaintiffs' Complaint.




                                                -5-
   Case 1:21-cv-00729-WMR Document 1-1 Filed 02/19/21 Page 17 of 25




                                                   32,

        Delbndant denies the avennents contained in paragraph 32 of Plaintiffs' Complaint.

                                                   33.

        Defendant incorporates      by reference its     responses   to paragraphs l-32 cf lllaintiffs'

Cr:n:plaint as if firlly set.lbllh herein belaw.

                                                   34.

        Defendant is without knowledge and ir:farmation suf{icient to {brm a belief as to the truth

of the averments ccntained in paragraph 34 of Plaintift.s' Ccmplaint,

                                                   35.

        Deibndant is without knowledge and information sufficient ts form a belief as to the truth

nf the averments contained in paragraph 35 of I'}laintiffs' Conrplaint.

                                                   36.

        Iletbndant is without knowledge and inliormation snlfrcient to form a beliellas to the truth

cl'the avenrlents contained in paragraph 36 of Plaintilfs' Cornplaint.

                                                   37.

        Defendant is without klowledge and information sullicient to form a belief as to the truth

of the aruerments contained in paragraph 37 of Plaintiffs' Complaint.

                                                   38.

        Defbndant is withou: knowledg* ancl informatiun sut'ticient to form a belief as to the truth

of the avermenls contained in paragraph 38 of Ptaintiffs' Cornplaint.

                                                   39.

        Defendant denies the averments cnntainecl in paragraph 39 of'Plaintiffs' Complaint.




                                                   6
    Case 1:21-cv-00729-WMR Document 1-1 Filed 02/19/21 Page 18 of 25




                                                  40.

        l)efendant denies the averments contained in paragraph 40 of Plaintiffs' Compiaint.

                                                  41.

        Defbndant denies the averrnents ccntained in paragraph 41 of Plaintiff's' Ccrnplaint.

                                                  42.

        Defbndant incorporates by referenee its responses to paragraphs            l-41 of Plaintiffs'
Complaint as if Ilully set farth herein bcl$w.

                                                  43.

        I)efendant denies the averments contained in paragraph 43 cf Plaintiffs' Complaint.

                                                  44.

        Defendant denies the averments contained in paragraph 44 of Plaintiffs' Complaint.

                                                  45.

       Defbndant denies the averments contained in paragraph 45 of Plaintiffs' Complaint.

                                         SIXTFI DET'ENSE

       Ilefbndant deuies each and every averment contained in the paragraph beginning with the

word "WFIER"EFORE" in the Plaintiffs' Complaint. Any allegations or avennents contained in

Piaintiffb' Clornplaint not specifically responded tn above are hereby denied.

        WHEREFORE, Delbndant PITOGRIiSSM MOUNTAIN INSURANCE COMPANY,

having firlly *nswered, demands that it be discharged with all casts cast upon the Plaintiflf's.




                                                 -7 -
   Case 1:21-cv-00729-WMR Document 1-1 Filed 02/19/21 Page 19 of 25




                                  Respe.ctfully submitted,

                                  DOWNSY & CLEVKLAND' LLP



                                  By:    /sl R, Shristepher l{qrrison ,,
                                         TT. CHTTJSTOPHER TIARRIS ON
                                         Seorgia State Bar No. 333199
                                         harrison@downeycleveland. com
                                         Attorneys fbr Defendant

Downey & Cleveland, LLP
288 Washington Avenue
Marietta, GA 30060-1979
T:770-422*3233
F:770-423-4199




                                   -8-
   Case 1:21-cv-00729-WMR Document 1-1 Filed 02/19/21 Page 20 of 25




                                        pnRrlrrs,tlRgH snRyICF
       This is to certify that I have this day seryed th+ following counsel olf record with a true and

coffe*t copy nf the ferregoir:g pleading via electronic service and/or by depositing said copy in the

United States Mail, with suf'ficient postage affixed thereon, and properly addressed to the

follcwing:

       Frank A. llardi, Esq.
       Ilardi taw, LLC
       1201 Peaclrtree Street, NE, $te. 200S
       Atlanta, Ga 30361

       This   1   8th   day of February ,2{}21 "

                                                   oowNaY & cLavaLANr), LLP



                                                   By     l# R.             Hcrrixon
                                                          R. CFIRISTOFHS,R HARRISON
                                                          Georgia State Bar No. 333199




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2t19t2021                                                                     GEORGIA
                        Case 1:21-cv-00729-WMR Document 1-1 Filed 02/19/21 Page 21 of 25

                          GEORGIA                                                                GEORGIA SECRETARY OF STATE
                          CORPORATIONS                                                     BRAD RAFFENSPERGER
                          DIVISION
                                                                                                                        HOME (/)
       BUSINESS SEARCH


        BUSINESS INFORMATION

                                             PROGRESSIVE
                         Business Name: MOUNTAIN                                      Control Number: 0596679
                                             INSURANCE COMPANY
                                                   Insurance                                              Active/Owes Current
                          Business   rvp", l"-t"ign
                                       ' Lompany                                       Business Status:
                                                                                                          Year AR
                    Business Purpose: NONE

                                       6300 Wilson Mills Road,
                                                                                   Date of Formation /
             Principal Office Address: Mayfield Village, OH,                                           1/27/200s
                                                                                    Registration Date:
                                       44143, USA
                                                                              Last Annual Registration
                              Jurisdiction: Ohio                                                          ,OrO
                                                                                                 Year:



        REGISTERED AG ENT IN FORMATION

            Registered Agent Name: C T CORPORATION SYSTEM
                        PhysicalAddress: 289 S Culver St, Lawrenceville, GA, 30046-4805, USA
                                  County: Gwinnett


        OFFICER INFORMATION

            Name                       Title        Business Address

            Mark D. Niehaus            cEo          6300 Wilson Mills Road, Mayfield Village, OH,44143, USA

            Patrick S   Brennan        CFO          6300 Wilson Mills Road,      Malield Village, OH, 44143,   USA

            Peter J. Albert            Secretary    6300 Wilson Mills Road, Mayfield Village, OH, 44143, USA



                                                      Filing   History        Name History
            Back
                                                           Return   to   Business Search




     Office of the Georgia Secretary of State Attn:2 MLK, Jr. Dr. Suite 313, Floyd West TowerAtlanta, GA 30334-1530,
                      Phone: (404) 656-2817 Toll-free: (844) 753-7825, WEBSITE: https://sos.ga.gov/
                    O 201 5 PCC Technology Group. All Rights Reserved. Version 6.2.1                1   Report a Problem?

hftps://ecorp.sos.ga.gov/BusinessSearch/Businesslnformation?businessld=1204502&businessType=Foreign lnsurance Company&fromSearch=True   111
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                     IN THE STATE COURT OF GWINNETT COUNTY

                                     STATE OF GEORGIA

TIERRE FORD and AKILAH FORD,                  )
                                              )
       Plaintiffs,                            )
                                              )      CNIL ACTION
V                                             )
                                              )      FrLE NO. 21-C-00450-S2
PROGRESSIVE MOUNTAIN                          )
INSURANCE COMPANY,                            )
                                              )
       Defendant.                             )
                                              )

                        NOTICE OF REMOVAL OF CIVIL ACTION
                         TO UNITED STATES DISTRICT COURT

TO     THE CLERK OF THE STATE COURT
       GWINNETT COI.INTY, GEORGIA

       PLEASE TAKE NOTICE that on February 19,2021, Defendant PROGRESSIVE

MOUNTAIN INSURANCE COMPANY in this action filed in the United States District Court

for the Northern District of Georgia its Notice of Removal of this civil action. A copy of said

Notice of Removal is attached as Exhibit o'A".

       PLEASE TAKE FURTHER NOTICE that, pursuant to 28 U.S.C. S 1446, the filing of that

Notice of Removal in the United States District Court, together with the filing of a copy of the

Notice of Removal with this Court, effectuates the removal of this action and the above-captioned

Court may proceed no further unless and until the case is remanded.


       This 19th day of February,202l




                                     fSignature on next pagef
     Case 1:21-cv-00729-WMR Document 1-1 Filed 02/19/21 Page 23 of 25



                                   Respectfully submitted,

                                   DOWNEY & CLEVELAND, LLP

                                   By     /s/ R. Christopher Harrison
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     Case 1:21-cv-00729-WMR Document 1-1 Filed 02/19/21 Page 24 of 25



                                  CERTIFICATE OF SERVICE

       This is to certiff that I have this day served the following counsel of record with a true and

correct copy of the foregoing pleading via electronic service andlor by depositing said copy in the

United States Mail, with sufficient postage affixed thereon, and properly addressed to the

following:

       Frank A. Ilardi, Esq.
       Ilardi Law, LLC
       1201 Peachtree Street, NE
       Suite 2000
       Atlanta, Ga 30361

       This   19th day   of February,2}2l

                                              DOWNEY & CLEVELAND, LLP


                                              By:    /s/ R. Christopher Harrison
                                                     R. CHzuSTOPHER HARzuSON
                                                     Georgia State BarNo. 333199
     Case 1:21-cv-00729-WMR Document 1-1 Filed 02/19/21 Page 25 of 25



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      This   19th   day of February, 2021 .

                                          DOWNEY & CLEVELAND, LLP


                                          By:     /s/ R. Christopher Harrison
                                                  R. CHRISTOPHER HARzuSON
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